      Case 2:21-cr-00126-MVL-KWR Document 310 Filed 11/15/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                      *       CRIMINAL NO. 21-126

                       v.                     *       SECTION: “S”

EMPIRE BULKERS LTD.                           *
JOANNA MARITIME LIMITED
WARLITO TAN                                   *

                                              *

      DEFENDANT’S MEMORANDUM OF LAW CONCERNING “DELIBERATE
                     IGNORANCE” INSTRUCTION

       NOW COMES defendant Warlito Tan, through counsel, and objects to the Court’s

proposed instruction on “deliberate ignorance,” found at Page 8 of the Court’s draft jury

instructions, for the following reasons:

       The instruction is drawn from the Fifth Circuit Pattern Instruction § 1.42. However, the

note to that section emphasizes that “[t]he deliberate ignorance instruction should rarely be

given—only when the facts and statute under which the defendant is being prosecuted justify it.”

Id., citing United States v. Araiza-Jacobo, 917 F.3d 360, 366 (5th Cir. 2019) and United States v.

Ricard, 922 F.3d 639, 655 (5th Cir. 2019). The Ricard decision points out that “[t]he danger of

such an instruction… is that, when a defendant must have acted knowingly or willfully, ‘the jury

might convict for negligence or stupidity’” Ricard, 922 F.3d at 655, quoting United States v.

Wofford, 560 F.3d 341, 352 (5th Cir. 2009).

       The Supreme Court has ruled that the “Willful Blindness” Doctrine has two basic

requirements: “(1) the defendant must subjectively believe that there is high probability that a

fact exist and (2) the defendant must take deliberate actions to avoid learning of that fact.”

Global Tech Appliances, Inc. v. SED S. A., 563 U.S. 754, 769, 131 S. Ct. 2060, 179 L. Ed. 2d



                                                  1
      Case 2:21-cr-00126-MVL-KWR Document 310 Filed 11/15/22 Page 2 of 2




1167 (2011). “Under this formulation, a willfully blind defendant is one who takes deliberate

actions to avoid confirm a high probability of wrongdoing and who can almost be said to have

actually known the critical facts.” Id. See also Araiza-Jacobo, 917 F.3d at 366 (the instruction

should not be given “when the evidence raises only the inferences that the defendant had actual

knowledge or no knowledge at all of the facts in question”).

       The evidence in this case does not support the giving of a “deliberate ignorance”

instruction.

       Alternatively, if the Court requires giving this instruction, Defendant would request a

“balancing” instruction. See note, Fifth Circuit Pattern Instruction § 1.42; United States v.

Vasquez, 677 F.3d 685, 695-96 (5th Cir. 2012). Such a balancing instruction would state that the

deliberate ignorance instruction “does not lessen the Government’s burden to show, beyond a

reasonable doubt, that the knowledge elements of the crime have been satisfied.” See id.


       EXECUTED this 15th day of November, 2022.



                                              /s/ Caroline Gabriel
                                              Caroline Gabriel, Bar No. 38224
                                              William Most, Bar No. 36914
                                              Most & Associates, L.L.C.
                                              201 St. Charles Ave. Suite 114 #101
                                              New Orleans, LA 70170
                                              (504) 509-5023
                                              caroline.gabriel.ma@gmail.com


                                              /s/ Edward S. MacColl
                                              Edward S. MacColl, MBRN #2658
                                              Pro Hac Vice
                                              Counsel for Defendant Tan




                                                 2
